         Case
          Case2:14-cr-00242-JCM-VCF
                2:14-cr-00242-JCM-VCF Document
                                      Document142  Filed11/21/16
                                               140 Filed 11/29/16 Page
                                                                   Page11
                                                                        ofof
                                                                           33




 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     KATHRYN C. NEWMAN
 3   Nevada Bar No. 13733
     Assistant United States Attorney
 4   501 Las Vegas Blvd. South, Suite 1100
     Las Vegas, Nevada 89101
 5   PHONE: (702) 388-6336
     FAX: (702) 388-6418
 6   Kathryn.Newman@usdoj.gov
 7   Counsel for United States
 8
                        UNITED STATES DISTRICT COURT
 9                           DISTRICT OF NEVADA
                                                   -oOo-
10

11   UNITED STATES OF AMERICA,                          Case No.: 2:14-CR-242-JCM-VCF
12               Plaintiff,                                MOTION TO DISMISS INDICTMENT
13        vs.
14   ADRIAN ACEVEDO-HERNANDEZ,
15               Defendant.
16

17          The United States, by and through its undersigned counsel, hereby moves for leave of the
18   Court to dismiss the Indictment filed on July 16, 2014, pursuant to Rule 48(a) of the Federal
19   Rules of Criminal Procedure. In support of its motion, the Government states:
20          1.      The defendant entered into a Pretrial Diversion Agreement (PDA) with the
21   Government on September 10, 2015. ECF 131. Pursuant to the terms of the PDA, the defendant
22   was subject to pretrial supervision for a period of up to 18 months.
23          2.      On October 25, 2016, the U.S. Office of Probation reported that the defendant had
24   been compliant with all of the terms of his supervision and recommended early termination.
25          3.      The Government confirmed independently that the defendant had no further
26   contacts with law enforcement.
         Case
          Case2:14-cr-00242-JCM-VCF
                2:14-cr-00242-JCM-VCF Document
                                      Document142  Filed11/21/16
                                               140 Filed 11/29/16 Page
                                                                   Page22
                                                                        ofof
                                                                           33




 1
                                                  CONCLUSION
 2          For the reasons set forth above, the Government respectfully requests leave of the Court
 3   to dismiss the Indictment as to this defendant.

 4      DATED this 21st day of November 2016.

 5                                                 Respectfully submitted,

 6                                                 DANIEL G. BOGDEN
                                                   United States Attorney
 7
                                                   /s/ Kathryn C. Newman
 8                                                 _______________________
                                                   KATHRYN C. NEWMAN
 9                                                 Assistant United States Attorney

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

                                                  2
         Case
          Case2:14-cr-00242-JCM-VCF
                2:14-cr-00242-JCM-VCF Document
                                      Document142  Filed11/21/16
                                               140 Filed 11/29/16 Page
                                                                   Page33
                                                                        ofof
                                                                           33




 1                      UNITED STATES DISTRICT COURT
 2                           DISTRICT OF NEVADA
                                                  -oOo-
 3

 4   UNITED STATES OF AMERICA,                        Case No.: 2:14-CR-242-JCM-VCF

 5               Plaintiff,
                                                          [Proposed] ORDER OF DISMISSAL
 6       vs.

 7   ADRIAN ACEVEDO-HERNANDEZ,

 8                Defendant

 9          IT IS HEREBY ORDERED that the Government is granted leave to dismiss the

10   Indictment in the above captioned case filed on July 16, 2014.

            IT IS FURTHER ORDERED that the Indictment is dismissed.
11
               DATED November 29, 2016.
12
                                                          _____________________  _
                                                          U.S. DISTRICT COURT JUDGE
13

14

15

16

17

18

19

20

21

22

23

24

                                                 3
